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                UNITED STATES BANKRUPTCY COURT
          NORTHERN DISTRICT OF ILLINOIS, EASTERN DIVISION

 IN RE:                                   CHAPTER 13
                                          Case No. 19-30367
 Vincent A. Tortorello                    Judge A. Benjamin Goldgar

                    Debtor.               Hearing Date: December 20, 2019
                                          Hearing Time: 11:00 A.M.

                  OBJECTION OF DIMON HOMES, LLC
            TO CONFIRMATION OF DEBTOR’S PROPOSED PLAN

    NOW COMES Dimon Homes, LLC (hereinafter referred to as “Dimon”), a
 secured creditor herein, by and through its attorneys, Cohen Dovitz
 Makowka, LLC, and in support of its objection to confirmation of the
 Debtor’s proposed Chapter 13 plan, states as follows:

       1.     This Court has jurisdiction pursuant to 28 U.S.C. Section 1334.

        2.     On October 25, 2019, Vincent A. Tortorello, the Debtor filed a
 petition for relief under Chapter 13 of the Bankruptcy Code.

       3.      Dimon is the owner and holder of a note (the “Note”) dated
 January 27, 2011 in the original principal amount of Twenty-Eight Thousand
 and One-Hundred Twenty-Five and NO/100ths ($28,125.00) Dollars executed
 by Debtor and secured by a mortgage (the “Mortgage”) against the real
 property commonly known as 38569 N. Sheridan Road, Unit 504, Beach
 Park, Illinois 60099 (the “Property”).

       4.     On December 13, 2019, Dimon filed a Proof of Claim in the total
 amount of Fifty-Two Thousand Four Hundred Sixteen and 09/100ths
 ($52,416.09) Dollars.

       5.    Said Proof of Claim reflects a pre-petition default in the amount
 of Forty Thousand Two Hundred Ninety-Nine and 78/100ths ($40,299.78)
 Dollars.

       6.     Dimon objects to confirmation of the Chapter 13 Plan filed on
 October 25, 2019 as it does not properly provide for repayment of the
 arrearage claimed and due to Dimon for its Mortgage.

       7.     Specifically, Part 3.1 of Debtor’s proposed plan provides only for
 payment of an arrearage on the Mortgage in the amount of Three Thousand
 Four-Hundred Eighty-Three and NO/1100ths ($3,483.00) Dollars, while the
 amount of the pre-petition arrearage claimed and due to Dimon on the
 Mortgage is Forty Thousand Two Hundred Ninety-Nine and 78/100ths
 ($40,299.78) Dollars.
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       8.      The instant case is the Debtor’s second bankruptcy filing within
 the last fifteen months, with the first case having been filed on August 14,
 2018 and dismissed on September 20, 2019.

        9.     The Debtor’s proposed plan provides for the Debtor to make 36
 monthly payments in the amount of $800.00, for a total of $28,800.00, which
 is insufficient to satisfy the arrearage claim of Dimon.

       10.  Without factoring in plan payments for any other claim, just to
 cure the arrearage due to Dimon, the Debtor’s monthly plan monthly
 payment toward the arrearage would be approximately $1,119.44.

      11.   Since the Debtor has committed 100% of his disposable income,
 the Debtor lacks any disposable income to commit to increased plan
 payments.

        12.   Since the Debtor appears to lack sufficient income to fund a
 feasible plan it also appears that the Debtor lacks the ability to successfully
 fund and complete a plan.

        13.   Without the Debtor having a reasonable likelihood of being able
 to propose a confirmable plan implies that the filing of the current case is
 part of a scheme to delay, hinder and defraud Movant and delay the judicial
 sale that was scheduled in the pending Foreclosure.

        14.   Accordingly, the Debtor’s proposed plan impermissibly modifies
 the rights of Dimon as a secured creditor under 11 U.S.C. Section 1322 and
 should not be confirmed in its current form.

        WHEREFORE, Dimon Homes, LLC requests that confirmation of the
 Debtor’s Chapter 13 plan be denied, and for such other and further relief as is
 just under the circumstances.

                                        Respectfully submitted,

                                        Dimon Homes, LLC

                                        BY: /s/ Sandra L. Makowka

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